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                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
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No. 22-5104                                                     September Term, 2022
                                                                           1:19-cv-03831-CJN
                                                       Filed On: August 29, 2023 [2014535]
Ascendium Education Solutions, Inc.,

                   Appellee

         v.

Miguel A. Cardona, In his official capacity
as Secretary of the Department of
Education and Department of Education,

                   Appellants


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Consolidated with 22-5117

                                             ORDER

         It is ORDERED, on the court's own motion, that the Clerk withhold issuance of
the mandate herein until seven days after disposition of any timely petition for rehearing
or petition for rehearing en banc. See Fed. R. App. P. 41(b); D.C. Cir. Rule 41. This
instruction to the Clerk is without prejudice to the right of any party to move for
expedited issuance of the mandate for good cause shown.

                                                              FOR THE COURT:
                                                              Mark J. Langer, Clerk

                                                      BY:     /s/
                                                              Michael C. McGrail
                                                              Deputy Clerk
